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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                               8:12CR391

      vs.

CHRISTIAN FIROZ,                                              ORDER

                    Defendant.


      This matter comes on before the Court upon the United States= Motion to Dismiss

Forfeiture Allegation (Filing No. 495) against Defendant, Christian Firoz. The Court

reviews the record in this case and, being duly advised in the premises, finds the United

States= Motion should be sustained.

      IT IS THEREFORE ORDERED as follows:

      1. The United States= Motion to Dismiss Forfeiture Allegation against Christian

Firoz is hereby sustained.

      2. The Forfeiture Allegation of the Superseding Indictment against Christian Firoz

is hereby dismissed.

      Dated: November 13, 2014.

                                               BY THE COURT:


                                               s/Joseph F. Bataillon
                                               Senior United States District Judge
